      Case 1-18-44427-cec              Doc 9    Filed 09/12/18          Entered 09/12/18 14:32:50




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In Re:                                                                  Case No: 18-44427


Brian Cohen                                                             Chapter 7
a/k/a Brian   J.   Cohen

                           Debtor.                                      NOTICE OF MOTION
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S   IR S:

         PLEASE TAKE NOTICE, that upon the annexed application of BRIAN COHEN, by his

attomeys Berger, Fischofi Shumer, Wexler           & Goodman, LLP a motion will be made to a term of
this Court, for    an Order authorizing the Debtor to short      sell   property located at 20 Koenig Drive,


Oyster Bay, New York 11771, together with such other and further relief as this Court deems just,


proper and equitable.


                   Date and Time:            October 16, 2018   at 11:00 a.m.



                   Bankruptcy Judge:         Hon. Carla. E. Craig


                   Courthouse:               United States Bankruptcy Court
                                             Conrad B. Duberstein Courthouse
                                             271-C Cadman Plaza East
                                             Brooklyn, New York 11201


Dated:             Syosset,   New York
                   September    12,   2018
                                                           BERGER, FISCHOFF, SHUMER,
                                                           WEXLER & GOODMAN, LLP
                                                           Attomeys for Debtor
                                                           6901 Jericho Turnpike, Suit        30
                                                           Syosset,


                                                           By:
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                                                                         Gary C. Fischoff
TO:      Chapter 7 Trustee
         U.S. Trustee
         All Creditors and Interested Parties        g
